                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                                                                  FILED
                                 INDIANAPOLIS DIVISION
                                                                                 MAR 0 2 2021
UNITED STATES OF AMERICA,                    )                               U.S. CLERK'S OFFICE
                                             )                             INDIANAPOLIS, INDIANA
                       Plaintiff,            )
                                             )       Cause No.
               V.                            )
                                             )
TIMOTHY MCKENNA,                             )
                                             )
                                                  1 : 2 1 -er- 0 0 6 8 JPM -OMIJ
                       Defendant.            )


                                         INDICTMENT

The Grand Jury charges that:

                                            COUNTl
                                      21 U.S.C. § 841(a)(l)
                    Possession with Intent to Distribute Controlled Substances

   On or about January 8, 2021, in the Southern District of Indiana, TIMOTHY MCKENNA,

defendant herein, did knowingly possess with intent to distribute 50 grams or more of

methamphetamine (actual), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(l).



                                          COUNT2
                                      18 U.S.C. § 924(c)
              Possession of a Firearm in Furtherance of a Drug Trafficking Crime

       On or about January 8, 2021, in the Southern District oflndiana, TIMOTHY MCKENNA,

defendant herein, did knowingly possess a firearm, that is, a Smith & Wesson, model SD40VE,

.40 pistol, in furtherance of a drug trafficking crime for which he may be prosecuted in a court of

the United States, that is, the crime alleged in Count One (Possession with Intent to Distribute

Methamphetamine); all in violation of Title 18, United States Code, Section 924(c)(l)(A).
                                           COUNT3
                                     18 U.S.C. § 922(g)(l)
                                Felon in Possession of a Firearm

       On or about January 8, 2021, in the Southern District oflndiana, TIMOTHY MCKENNA,

defendant herein, knowing that he had been convicted of a crime punishable by imprisonment for

a term exceeding one year (to wit: felony Auto Theft, Marion County, Indiana Superior Court,

49004-l 906-F5-025417; felony Possession of Methamphetamine, Putnam County, Indiana

Superior Court, 67D01-1807-F5-000131, felony Failure to Return to Lawful Detention, Clay

County, Indiana Superior Court, 11C01-l 712-F6-000995; felony Auto Theft, Putnam County,

Indiana Superior Court, 11D01-1608-F6-000599; felony Maintaining A Common Nuisance,

Marion County, Indiana Superior Court, 49021-1607-F2-028923; felony Possession of

Methamphetamine, Putnam County, Indiana Superior Court, 67D01-1509-F6-000129; felony

Burglary, Marion County, Indiana Superior Court, 49005-1204-FC-025656; felony Possession of

a Controlled Substance, Johnson County, Indiana Superior Court, 41D03-1009-FD-000227; felony

Theft/Receiving Stolen Property, Marion County, Indiana Superior Court, 49003-0608-FD-

153669; felony Forgery, Marion County, Indiana Superior Court, 49003-0606-FC-110834) did

knowingly possess in and affecting interstate or foreign commerce a firearm, that is, a Smith &

Wesson Model SD40VE .40 pistol, and/or a Winchester, model 120, 12 gauge shotgun, in violation

of Title 18, United States Code, Section 922(g)(l).



                                        FORFEITURE

       1.      Pursuant to Title 21, United States Code, Section 853, if convicted of the offense

set forth in Count One of the Indictment, the defendant shall forfeit to the United States any and

all property constituting or derived from any proceeds the defendants obtained directly or
      indirectly as a result of the offenses, and any and all property used or intended to be used in any

      manner or part to commit and to facilitate the commission of the offenses.

             2.      The United States shall be entitled to forfeiture of substitute property pursuant to

      Title 21, United States Code, Section 853(p ), and as incorporated by Title 28, United States Code,

      Section 2461 (c), if any of the property described above in paragraph 1, as a result of any act or

      omission of the defendants:

                     a.      cannot be located upon the exercise of due diligence;

                     b.      has been transferred or sold to, or deposited with, a third party;

                     c.      has been placed beyond the jurisdiction of the court;

                     d.      has been substantially diminished in value; or

                     e.      has been commingled with other property which cannot be divided
                             without difficulty.

             3.      Pursuant to Title 18, United States Code, Section 924(d), if convicted of the

      offenses set forth in Count Two or Three of this Indictment, the defendant shall forfeit to the United

      States "any firearm or ammunition involved in" the offense.


                                                              A TRUE BILL:




      JOHN E. CHILDRESS
      Acting United States Attorney


By:
